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LitigationID House StreetName     Zip     CaseType      CaseOpenDate      Respondent
     342076    14 THAYER STREET   10040   Comprehensive 10/12/2018 0:00   14‐28 THAYER LLC,ELIE GABAY,MICHAEL HAAS,PETER REBENWURZEL
     329453 520 WEST 204 STREET   10034   Comprehensive   3/1/2018 0:00   518 WEST 204, LLC,ELIE GABAY,MICHAEL HAAS,PETER REBENWURZEL
     342078    28 THAYER STREET   10040   Comprehensive 10/16/2018 0:00   14‐28 THAYER LLC,ELIE GABAY,MICHAEL HAAS,PETER REBENWURZEL

                     Source: https://data.cityofnewyork.us/Housing‐Development/Housing‐Litigations/59kj‐x8nc/data
